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10                                    UNITED STATES DISTRICT COURT
11                                 NORTHERN DISTRICT OF CALIFORNIA
12                                        SAN FRANCISCO DIVISION
13
     UNITED STATES OF AMERICA,                        ) CASE NO. 3:20-MJ-71739 MAG
14                                                    )
             Plaintiff,                               ) STIPULATION AND [PROPOSED] ORDER
15                                                    )
        v.                                            )
16                                                    )
     HARLAN KELLY,                                    )
17                                                    )
             Defendant.                               )
18                                                    )
                                                      )
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20
             The above-titled matter is currently scheduled for a status conference and preliminary examination
21
     before the Court on September 14, 2021. The government and defendant stipulate that the parties need
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     additional time to meet and confer and to review materials relevant to this case. Therefore the parties
23
     agree and jointly request that the September 14, 2021 hearing should be continued, and the parties jointly
24
     propose that the status and preliminary hearing now be held on October 20, 2021, at 10:30 a.m.
25
             The parties further stipulate that the time between September 14, 2021 and October 20, 2021
26
     should be excluded, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), to allow for the effective preparation of
27
     the defendant’s counsel. The parties stipulate, and ask the Court to find, that the requested exclusion of
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     STIPULATION AND [PROPOSED] ORDER
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 1 time is in the interests of justice and outweighs the best interest of the public and the defendant in a speedy

 2 trial. 18 U.S.C. § 3161(h)(7)(A).

 3

 4            IT IS SO STIPULATED.

 5            Dated: August 24, 2021                       STEPHANIE HINDS
 6                                                         Acting United States Attorney

 7                                                                   /s/
                                                           DAVID J. WARD
 8                                                         Assistant United States Attorney
 9

10

11
                                                               /s/ with permission
12                                                        BRIAN GETZ
                                                          Attorney for Harlan Kelly
13

14
                                                          [PROPOSED] ORDER
15
                                                          IT IS SO ORDERED.
16
                                                           ______________________________
17   Dated: August 24, 2021
                                                           HON. JOSEPH C. SPERO
18                                                         United States Chief Magistrate Judge

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     STIPULATION AND [PROPOSED] ORDER
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